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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    SHAY HORSE, et al.,

                         Plaintiffs,
          v.                                          Civil Action No. 17-1216 (ABJ)

    DISTRICT OF COLUMBIA, et al.,

                         Defendants.


                       PLAINTIFFS’ OPPOSITION TO DEFENDANTS’
                        MOTION TO STAY OR EXTEND DEADLINE

         Plaintiffs hereby oppose Defendants’ motion to stay or, in the alternative, to extend the

deadline within which to file their responsive pleading to Plaintiffs’ Complaint, currently due

September 26, 2017. ECF 16.

         Defendants have not satisfied Federal Rule of Civil Procedure 6(b)(1)’s “good cause”

requirement for an extension of time. Plaintiffs’ Complaint was filed on June 21, 2017, and

served on July 7. See ECF 7-9. Defendants’ original deadline to answer the Complaint was July

28, but Plaintiffs consented to, and the Court granted, Defendants’ motion for a 60-day extension

to September 26, 2017. See ECF 14-15. Defendants thus already have 81 days in which to

prepare their response. Surely that is enough time for the D.C. Office of the Attorney General,

which has staffed this case with four lawyers.1

         Defendants now seek an indefinite extension of their time to respond. Their only

argument in support of their motion is that Plaintiffs have sought limited expedited discovery for

the purpose of identifying “John Doe” defendants that they hope to add via an amended



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  Plaintiffs count both the lawyers who have entered formal appearances and lawyers who have
signed Defendants’ most recent motion using the /s/ format.
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complaint. That argument might have some weight if Defendants were planning to file an

answer. However, Defendants’ counsel have made clear to undersigned counsel that the

responsive pleading they intend to file will be a motion to dismiss, not an answer. Defendants

provide no reason why the potential addition of more defendants in the future prevents them

from formulating and filing their legal arguments in support of their motion to dismiss within 81

days of being served. Substituting actual names for “John Doe” and “Jane Doe” will not alter the

legal theories contained in the complaint.

       A motion to dismiss “tests the legal sufficiency of the complaint.” Kingman Park Civic

Ass’n v. Williams, 348 F.3d 1033, 1040 (D.C. Cir. 2003). If Defendants believe there are legal

deficiencies in the complaint, there is every reason to bring those deficiencies to the attention of

Plaintiffs and the Court sooner rather than later. If Defendants’ arguments are persuasive to

Plaintiffs, Plaintiffs may amend their complaint as of right under Rule 15(a)(1)(B). As the Rules

Advisory Committee pointed out, “This provision will force the [Plaintiffs] to consider carefully

and promptly the wisdom of amending to meet the arguments in the motion. A responsive

amendment may avoid the need to decide the motion or reduce the number of issues to be

decided, and will expedite determination of issues that otherwise might be raised seriatim. It also

should advance other pretrial proceedings.” Fed. R. Civ. P. 15, Advisory Committee Note

(2009). If Defendants’ arguments are not persuasive to Plaintiffs but are persuasive to the Court,

certain claims may be dismissed, which in turn may streamline the remaining litigation by

reducing the number of issues in need of adjudication. By contrast, granting Defendants’ motion

to stay can result only in unwarranted delay and inefficiency.

       Defendants’ alternative request for an additional 65-day extension rests on the same

asserted grounds and thus fares no better. Indeed, it is clear in the context of Defendants’ motion



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that if Defendants are granted an additional 65-day extension at this time, they will seek a further

extension after those 65 days, as long as Plaintiffs are still hoping to add additional defendants to

the case. And should Plaintiffs be unable to identify and serve additional individual defendants,

the extension Defendants seek will have served no purpose at all, except delay.

       Denying an extension will in no way prejudice the Defendants. If Plaintiffs are successful

in joining additional individual defendants through an amended complaint, and in the event that

the amended complaint presents new claims or legal theories that Defendants believe should be

dismissed as a matter of law, Defendants will have the opportunity to file a new motion to

dismiss at that time. But the parties and the Court will not have to re-litigate any issues already

addressed in the earlier motion to dismiss.

       To the extent Defendants argue that they need more time because they are in the midst of

opposing Plaintiffs’ discovery motion, their implicit suggestion that they cannot be expected to

prepare more than one legal memorandum during the month of September is not well taken. In

any event, their opposition to the discovery motion is due today (September 8), leaving them 18

days to work only on their motion to dismiss—on which they presumably have already been

working for the past two months.

       In a footnote, Defendants point out that Plaintiffs offered to consent to a stay of the

responsive pleading deadline in exchange for Defendants’ consent to the scope of Plaintiffs’

expedited discovery. That offer is irrelevant to the merit of Defendants’ present motion.

Defendants’ implication seems to be that Plaintiffs’ opposition to an extension could not be

serious if they were willing to barter it away. Such a view ignores the basic point of negotiations,

in which parties offer to make concessions, even concessions they would rather not make and to

which the opposing party is not legally entitled, in order to secure reciprocal benefits. That



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Plaintiffs offered a global resolution of these preliminary procedural disputes in the interest of

moving the case forward shows only that Plaintiffs seek to be practical and cooperative, not that

Defendants have good cause for an extension.

       In sum, there is no good cause for Defendants not to respond to Plaintiffs’ Complaint,

served on July 7, by the current deadline of September 26, 2017. The Court should deny

Defendants’ Motion. A proposed order is attached.

                                               Respectfully submitted,

                                               /s/ Scott Michelman
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   September 8, 2017                          Counsel for Plaintiffs




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 SHAY HORSE, et al.,

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 DISTRICT OF COLUMBIA, et al.,

                       Defendants.




                                        [PROPOSED]
                                          ORDER

       Having considered the Plaintiff’s Motion to Stay Deadline or Extend Time to Respond to

Plaintiffs’ Complaint, it is this ________ day of ___________, 2017, hereby:

       ORDERED that the motion is DENIED.



                                            ______________________________
                                            Amy Berman Jackson
                                            United States District Judge
